                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN

 JAMES A. LOVE,

        Plaintiff,

        v.                                                   Case No. 19-CV-1184

 G4S TRANSPORTATION SERVICES,
 SUPERVISOR JORDAN

        Defendants.


                     STATEMENT ON NON-ACCEPTANCE OF SERVICE


        Pursuant to a Memorandum of Understanding between the Court and the Milwaukee

 County Office of Corporation Counsel, and the Court’s Screening Order (ECF No. 17),

 Corporation Counsel does not accept service of process upon the identified defendant in this action

 for the reason stated below:

       NAME               ACCEPT        DATE OF SERVICE         REASON SERVICE NOT ACCEPTED;
                         SERVICE?                                    LAST KNOWN ADDRESS
Supervisor Jordan        No                                    Supervisor Jordan appears to be an
                                                               employee of Armor Correctional
                                                               Health Services (“Armor”), not
                                                               Milwaukee     County.        Upon
                                                               information and belief, the firm
                                                               representing   Armor     and    its
                                                               employees is Cassiday Schade LLP.


        Please note there are no defendants named in this suit for which Corporation Counsel will

 accept service.




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       I certify that on this date, a copy of this Statement on Non-Acceptance of Service has been

served upon plaintiff by U.S. Postal Service mail addressed to:

       James A. Love
       177408
       Racine Correctional Institute
       2019 Wisconsin Street
       PO Box 900
       Sturtevant, WI 53177-0900

Dated at Milwaukee, Wisconsin this 19th day of March, 2020.


                                             MARGARET C. DAUN
                                             Milwaukee County Corporation Counsel

                                       By:   s/ Anne Berleman Kearney
                                             ANNE BERLEMAN KEARNEY
                                             Wisconsin Bar No. 1031085
                                             Deputy Corporation Counsel


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